      Case 1:16-cv-01094-PJG ECF No. 76 filed 04/24/18 PageID.1637 Page 1 of 4



                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


 CINDY GAMRAT,

                Plaintiff,

 v.                                                                 Case No. 1:16-CV-1094

 KEITH ALLARD, et al.,                                              HON. GORDON J. QUIST

                Defendants.
                                  /

                  ORDER DENYING MOTION FOR RECONSIDERATION

         On March 15, 2018, the Court entered an Order granting motions to dismissed filed by the

House Defendants, Defendant Saari, and Defendants Allard and Graham. (ECF No. 66.) Plaintiff,

Cindy Gamrat, has now filed a motion for reconsideration raising two issues. First, she argues that

the Court should reconsider its dismissal of the wiretapping, eavesdropping, stalking, and

conspiracy claims because “newly discovered evidence is being revealed every day in Todd

Courser’s criminal case.” (ECF No. 70 at PageID.1380.) Second, Gamrat argues that the Court

committed palpable error in failing to address her claim that the House Defendants violated her

right to fair and just treatment during the course of the legislative investigation, in violation of

Article 1, § 17 of the Michigan Constitution.

         Under this district’s rules, a motion for reconsideration “which merely present[s] the same

issues ruled upon by the Court shall not be granted.” W.D. Mich. LCivR 7.4(a). “The movant

shall not only demonstrate a palpable defect by which the Court and the parties have been misled,

but also show that a different disposition of the case must result from a correction thereof.” Id.
   Case 1:16-cv-01094-PJG ECF No. 76 filed 04/24/18 PageID.1638 Page 2 of 4



       First, regarding Gamrat’s claim of newly discovered evidence in the Courser criminal case,

the Court has revisited its analysis of Gamrat’s allegations in her First Amended Complaint and

concludes that it was neither based on, nor resulted in, a palpable defect. Now, as she did prior to

the Court’s ruling on the motions to dismiss, Gamrat argues that new evidence unearthed in the

Courser case augments her wiretapping/eavesdropping, stalking, and conspiracy allegations in this

case. But the discovery of new evidence is not germane to a motion to dismiss. “In deciding a

motion to dismiss under Fed. R. Civ. P. 12(b), a court must consider the legal sufficiency of the

complaint, not the weight of evidence which might be offered at trial.” Sawinski v. Bill Currie

Ford, Inc., 866 F. Supp. 1383, 1385 (M.D. Fla. 1994). In the Court’s judgment, Gamrat’s

allegations were insufficient to withstand a motion to dismiss. If Gamrat believes that she has new

evidence that supports her claims, the proper vehicle to cure her deficient allegations is an

amendment to her pleading. A motion for reconsideration is not a substitute for a motion for leave

to amend that presents the proposed amended complaint. See Roskam Baking Co. v. Lanham

Mach. Co., 288 F.3d 895, 906–07 (6th Cir. 2002).

       Turning to the due process claim under 42 U.S.C. § 1983, the Court does not read Gamrat’s

motion as asserting a palpable defect in the Court’s analysis of that claim. To the extent Gamrat

requests the Court reconsider the dismissal of the § 1983 claim, the Court finds no error. Gamrat

does not argue that the Court erred in concluding that the House Defendants are entitled to

legislative immunity on that claim, and the Court adheres to its conclusion that qualified immunity

applies because Gamrat failed to show that it was clearly established that she had a property interest

in her public office. See generally Mark R. Fitzgerald, Comment, Should Elected Officials Have

a Property Interest in Their Positions?, 1995 U. Chi. L. Rev. 365 (1995).




                                                  2
   Case 1:16-cv-01094-PJG ECF No. 76 filed 04/24/18 PageID.1639 Page 3 of 4



       Gamrat correctly notes that the Court did not consider a claim that the House Defendants

violated her right to fair and just treatment as guaranteed in Article 1, § 17 of the Michigan

Constitution. Gamrat quoted that provision in paragraph 145 of her First Amended Complaint in

Count I, which alleged, “Violation of Procedural Due Process under State and Federal

Constitutions–42 U.S.C. § 1983.” (ECF No. 20 at PageID.130.) In their opening brief, the House

Defendants set forth in footnote 8 their understanding that Gamrat “has raised only a due process

claim.” (ECF No. 24 at PageID.263 n.8.) Although Gamrat quoted the “Fair and Just Treatment”

clause of Article I, § 17 of the Michigan Constitution in her response (ECF No. 32 at PageID.387),

she did not correct the House Defendants’ understanding of her claim, nor did she discuss, let alone

mention, Jo-Dan Ltd. v. Detroit Board of Education, No. 201406, 2000 WL 33416896 (Mich. Ct.

App. July 14, 2000)—the case she now describes as “[t]he seminal case in Michigan regarding the

Fair and Just Treatment Clause.” (ECF No. 71 at PageID.1389.) Regardless, the Court would

have dismissed the claim even if Gamrat had raised it. The Michigan Supreme Court has

recognized a damages remedy under the Michigan Constitution only in limited circumstances—

against the State of Michigan and its officials in their official capacities. See Smith v. Dep’t of

Pub. Health, 428 Mich. 540, 410 N.W.2d 749 (1987), aff’d sub nom Will v. Mich. Dep’t of State

Police, 491 U.S. 58, 109 S. Ct. 2304 (1989). Any such claim in this case would face two problems.

First, Gamrat sued the House Defendants only in their individual capacities—a point she

emphasized in her response to the House Defendants’ motion. Second, even if she had alleged

such claim against the State of Michigan and the House Defendants in their official capacities, it

would have been barred in this Court by the Eleventh Amendment. See Edelman v. Jordan, 415

U.S. 651, 663, 94 S. Ct. 1347, 1355–56 (1974). Accordingly, Gamrat has not demonstrated a

palpable error.



                                                 3
   Case 1:16-cv-01094-PJG ECF No. 76 filed 04/24/18 PageID.1640 Page 4 of 4



       Therefore, Gamrat’s Motion for Reconsideration (ECF No. 70) is DENIED.

       IT IS SO ORDERED.



Dated: April 24, 2018                                  /s/ Gordon J. Quist
                                                      GORDON J. QUIST
                                                UNITED STATES DISTRICT JUDGE




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